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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                         GREAT FALLS DIVISION



 UNITED STATES OF AMERICA,
                                            Case No. CR-16-36-GF-BMM
               Plaintiff,
                                                       ORDER
 vs.

 CESAR CHRISTIAN LOPEZ-
 SANCHEZ,

               Defendant.


       The Defendant, Cesar Christian Lopez-Sanchez, having filed an Unopposed

Motion to Extend Pretrial Motions Deadline, and good cause appearing,

       IT IS HEREBY ORDERED that the pretrial motions, if any, will be filed by

May 9, 2017.

       DATED this 8th day of May, 2017.




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